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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA



  REALBIZ MEDIA GROUP, INC.,

         Plaintiff,

  v.

  MONAKER GROUP, INC.,

         Defendant.
                                             /

                                          COMPLAINT

        RealBiz Media Group, Inc. (“RealBiz”), through its undersigned attorneys files this

 Complaint against Monaker Group, Inc. (“Monaker”) and states as follows:



                                        I. THE PARTIES

        1.      Plaintiff, RealBiz Media Group, Inc., is a corporation incorporated in the State of

 Delaware with its principal place of business in Rochelle Park, New Jersey.

        2.      Defendant Monaker Group, Inc., is a corporation incorporated in the State of

 Nevada with its principal place of business in Weston, Florida.



                               II. JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 §1332(a)(1) because the amount in controversy exceeds the sum of $75,000, exclusive of interest

 and costs, and is between corporate citizens of different states. 28 U.S.C. §1332(c)(1).
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         4.     This Court has personal jurisdiction over Defendant pursuant to 28 U.S.C. § 1332,

 because Defendant is located in this judicial district and has ongoing and systemic business in this

 district.

         5.     Venue is proper in this judicial district under 28 U.S.C. §1391(b) because the

 Defendant resides and transacts business in this district, and a substantial part of the events or

 omissions giving rise to the Plaintiff’s claim occurred in this district.



                              III. FACTS COMMON TO ALL COUNTS

         6.     Plaintiff RealBiz Media Group, Inc., is a real estate digital media and technology

 company whose proprietary video processing technology makes it one of the leaders in providing

 home video tours to the real estate industry. Its client base includes more than 60,000 real estate

 agents and brokers.

         7.     Defendant Monaker Group, Inc., formerly known as Next 1 Interactive, Inc.,

 describes itself as a technology driven travel and digital marketing company centered around three

 divisions: travel, employment and membership rewards.

         8.     RealBiz (RBIZ)and Monaker (MKGI) are both publicly traded companies subject

 to the reporting requirements of federal securities laws and regulations, and they have been so at

 all material times herein.

         9.     RealBiz and Monaker have been affiliates of one another at all material times

 herein. Prior to July 2015, RealBiz and Monaker shared common management. The companies

 then shared a CEO, William Kerby, who is still the CEO of Monaker today. Further, Monaker had

 a controlling ownership stake in RealBiz prior to October 31, 2014, and continued to have a

 substantial ownership stake after that date.



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        10.     Prior to July 2015, the common management included administration of the

 companies’ financial affairs. The companies also shared the same public auditing firm, D’Arelli

 Pruzansky, P.A., that audited their financial statements for purposes of each company’s public

 filings with the U.S. Securities and Exchange Commission.

        11.     Before July 2015, it was common for the companies to engage in intercorporate

 transactions. These various transactions involved the securities of each company that had a

 monetary value, and the companies would also transfer cash one to the other.

        12.     Such transactions were tracked in a general ledger account to which both companies

 had access (“the Intercompany Account”). Monaker’s and RealBiz’s then-CFO Adam Friedman

 kept these data and updated them in Excel spreadsheets and in a QuickBooks data file.

        13.     For the most part, before July 2015, cash transfers tended to flow from RealBiz to

 Monaker. In fact, Monaker, by virtue of its majority stake in RealBiz at the time and control of

 RealBiz’s management, had total control of RealBiz’s cash. Monaker used RealBiz’s cash liberally

 for its own needs.

        14.     By October 31, 2014, Monaker’s interest in RealBiz dropped to 43%.

        15.     As a result, Monaker began reporting as a Current Liability on its financial

 statements filed with the SEC the balance of the Intercompany Account due to RealBiz.

        16.     In its 10K for the fiscal year ended February 28, 2015, Monaker reported a debt of

 $974,889 “Due to affiliates”. Exhibit “A” (excerpts of 10K – “Next 1 Interactive, Inc. and

 Subsidaries Consolidated Balance Sheets”) at p. 48/95. The “affiliates” in fact referred to RealBiz,

 as explained in Note 12 to the financials:

                Note 12 Due to/from affiliates

                During the normal course of business, the Company receives and/or
                makes advances for operating expenses or equity conversion to/from


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                 its unconsolidated affiliated Company, RealBiz Media Group, Inc.
                 As of February 28, 2015, the Company owes $974,889 as a result of
                 such transactions.

 Id. at 73/95.

         17.     While Monaker in theory lost a controlling interest in RealBiz by October 31, 2014,

 in reality it maintained effective control of RealBiz through June 2015 through Monaker’s CEO

 William Kerby and CFO Adam Friedman. Monaker continued to make liberal use of RealBiz’s

 assets for its own purposes. Thus, through June 2015, the balance of the Intercompany Account –

 the amount due RealBiz from Monaker – had risen by another $300,000, approximately.

         18.     In July 2015, precipitated by the resignation of RealBiz’s then-COO Alex

 Aliksanyan over what he regarded as abusive corporate conduct of RealBiz by Monaker, the

 companies severed their common management ties. At the urging of RealBiz’s Chairman of the

 Board of Directors, Aliksanyan was rehired and appointed as RealBiz’s CEO, an office in which

 he has continued to serve since then.

         19.     Since July 2015, the Intercompany Account has effectively been frozen. The

 balance of the account due to RealBiz at that time has essentially remained unchanged.

         20.     In its 10Q for the quarter ended November 30, 2015, Monaker publicly reported

 the “Debt due to affiliates” – i.e., to RealBiz – as $1,286,421. Monaker filed the 10Q on January

 19, 2016. Exhibit “B” (excerpt of 10Q – “Monaker Group, Inc. and Subsidaries Consolidated

 Balance Sheets”) at 4/78.

         21.     The following month, in the course of an audit of RealBiz’s financials by D’Arelli

 Pruzansky, P.A., the auditors sought confirmation of the total balance due RealBiz from Monaker.

 Specifically, D’Arelli sent to Monaker a letter under the name and signature of RealBiz’s CEO




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 Aliksanyan, dated February 9, 2016, to Monaker’s Chief Financial Officer and Chief Operating

 Officer, Omar Jimenez, seeking to confirm the debt. Aliksanyan’s letter stated:

                  Our auditors, D'Arelli Pruzansky, P.A. are conducting an audit of
                  our financial statements. Please confirm the balance due to us from
                  your company as of October 31, 2015, which is shown in our records
                  as $1,287,517.

                  Please indicate in the space provided below if the amount is in
                  agreement with your records. If there are differences, please provide
                  any information that will assist our auditors in reconciling the
                  differences. Please also indicate any special payment or other terms
                  related to this balance.

 Exhibit “C” (Feb. 9, 2016 letter).

        22.       The letter included a space for Monaker to confirm or disconfirm the debt beneath

 a statement that read: “The balance due from Manaker Group, Inc. to RealBiz Media Group, Inc.

 of $1,287,517 as of October 31, 2015 is correct with the following exceptions (if any):” Id. In his

 own hand, Monaker’s COO and CFO Jimenez responded without qualification: “WE CONFIRM

 THAT THE AMOUNT AGREES TO THE BOOKS OF MONAKER GROUP AS OF OCTOBER

 31, 2015.” Id.

        23.       Subsequent to Monaker’s unequivocal confirmation of the debt it owes to RealBiz,

 RealBiz’s CEO Aliksanyan and CFO Thomas Grbelja have attempted to negotiate and collect the

 debt. Monaker has refused to pay it. To date, Monaker has made no payment on the debt, which

 still stands at $1,287,517, as of October 31, 2015.



                               IV. COUNT I – ACCOUNT STATED

        24.       RealBiz re-alleges paragraphs 1 through 23.

        25.       RealBiz rendered an account statement on the Intercompany Account to Monaker

 by way of D’Arelli’s request to confirm the amount due from Monaker to RealBiz as $1,287,517


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 as of October 31, 2015, and to note any exceptions, if any. Exhibit “C”.

         26.   Monaker received RealBiz’s request and, through Monaker’s COO and CFO

 Jimenez, Monaker without reservation or qualification expressly “CONFIRM[ED] THAT THE

 AMOUNT AGREES TO THE BOOKS OF MONAKER GROUP AS OF OCTOBER 31, 2015.”

 Exhibit “C”. Jimenez wrote the acknowledgment and signed it in his own hand on February 15,

 2016.

         27.   Monaker’s acknowledgement of the $1,287,517 due to RealBiz as of October 31,

 2015, without reservation or objection within a reasonable time constituted an account stated and

 an implied promise to pay to RealBiz the sum due.

         28.   Monaker has refused to pay the sum due to RealBiz, despite demand.

         29.   RealBiz is entitled to judgment against Monaker for $1,287,517 on the account

 stated, plus prejudgment interest from October 31, 2015, and costs.



                          V. COUNT II – UNJUST ENRICHMENT

         30.   RealBiz re-alleges paragraphs 1 through 23 and pleads this Count II – Unjust

 Enrichment in the alternative to Count I – Account Stated.

         31.   By virtue of the Monaker’s appropriation of RealBiz’s cash and other assets for its

 own use while Monaker exercised control of both companies’ management, RealBiz conferred

 benefits on the Defendant Monaker with Monaker’s knowledge. See, e.g., Exhibit “A” (Note 12)

 at 73/95.

         32.   Monaker voluntarily accepted the benefit of RealBiz’s assets and has retained

 $1,287,517 of RealBiz’s money since at least October 31, 2015, though it has no right to do so,

 and RealBiz has demanded payment of that sum.



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        33.      Under these circumstances, it would be entirely inequitable for the Monaker to

 retain RealBiz’s money without paying the sum to RealBiz.

        34.      RealBiz is entitled to judgment against Monaker for unjust enrichment in the

 amount of $1,287,517, plus prejudgment interest from October 31, 2015, and costs.

        WHEREFORE, Plaintiff RealBiz Media Group, Inc., respectfully requests that the Court:

              a. Enter judgment in favor of Plaintiff RealBiz Media Group, Inc., and against the

                 Defendant Monaker Group, Inc., in the amount of $1,287,517, plus prejudgment

                 interest from October 31, 2015, and costs; and,

              b. Order such other further relief as the Court deems just and proper under the

                 circumstances.


 DATE: May 11, 2016

                                                       Respectfully submitted,


                                                       /s/ Brian M. Torres
                                                       Brian M. Torres, Fla. Bar No. 36498
                                                       BRIAN M. TORRES, P.A.
                                                       One S.E. Third Avenue, Suite 3000
                                                       Miami, FL 33131
                                                       Telephone: (305) 901-5858
                                                       Facsimile: (305) 901-5874
                                                       btorres@briantorres.legal

                                                       Attorneys for Plaintiff RealBiz Media
                                                       Group, Inc.




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